     Case 1-25-41368-jmm         Doc 32     Filed 04/24/25    Entered 04/24/25 14:06:41




Dear Hon Jill Mazer-Marino,

We have lived in building 48 for two years and in this time there were several bad things that
had to be fixed and were not. Here is our running list:

1 Drawers that can only be opened a small amount or otherwise everything spills out
2. A part of my microwave fell on my head and it was weeks before it was fixed.
3. Bathroom wall is separating from the wall and the bathtub was so permanently stained I only
took showers. The bathroom sink is badly chipped with black spots where porcelain should be.
4. The carpeting was never changed and cleaned and I cut my foot very badly on a broken
piece of china as it was never cleaned or replaced plus urine stains on the carpeting. When we
moved in they just painted over the dirt and we had to bring in our own cleaners and painter.
5. Most importantly there is mold in our apt and have suffered with many asthmatic attacks
since moving here. I now have been diagnosed with mold on my lungs.
I am now getting frequent nose bleeds.
I told the leasing office several times about the mold but no one came to look and see the black
soot coming out of the vents. My husband and I are suffering from shortness of breath and my
husband has great trouble walking without being able to catch his breath
6. We have to move as it has become impossible to stay in our apt health wise.
and the very condition the apartment is in.
7. Our hearts go out to those who are left behind to suffer. Forgot to mention the knobs on the
stove are loose and if you brush against them you can smell gas escaping.

I have on many occasions told the leasing office my concerns and they write it down and do
nothing. We have never ever lived in such a terrible apartment building
We hope that someone will save the other tenants from this horrible situation.

Sincerely
Dr. Elliot and Susan Pollack
